Case 9:19-bk-11573-MB   Doc 564 Filed 11/27/19 Entered 11/27/19 07:39:55             Desc
                          Main Document Page 1 of 2



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 2
                                                           FILED & ENTERED
 3

 4                                                              NOV 27 2019

 5                                                         CLERK U.S. BANKRUPTCY COURT
                                                           Central District of California
                                                           BY handy      DEPUTY CLERK
 6

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 8
                         UNITED STATES BANKRUPTCY COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                 NORTHERN DIVISION
11

12 In re:                                     Case No.: 9:19-bk-11573-MB
13
     HVI CAT CANYON, INC.,                    Chapter 11
14
                    Debtor.                   ORDER REDUCING OBJECTION
15                                            PERIOD ON PROPOSED “FINAL
                                              ORDER FOR EMERGENCY PRIMING
16                                            AND SUPERPRIORITY FINANCING
17                                            AND CONSENSUAL USE OF CASH
                                              COLLATERAL BY THE CHAPTER 11
18                                            TRUSTEE”

19                                                   Hearings
                                              Date: November 21, 2019
20                                            Time: 1:30 p.m.
21                                            Ctrm: 201
                                                    1415 State Street
22                                                  Santa Barbara, California

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Case 9:19-bk-11573-MB        Doc 564 Filed 11/27/19 Entered 11/27/19 07:39:55               Desc
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 1         On November 26, 2019, the chapter 11 trustee, Michael A. McConnell (the “Trustee”), filed

 2 and served his Notice of Lodgment of Order re: Trustee's Emergency Motion For (1) Authority To

 3 Accept A Partial Prepayment of The Amount Owed By California Asphalt Production, Inc., To The

 4 Estate, Or In The Alternative For Authority To Obtain "Credit' In The Form Of Such Prepayment,

 5 And (2) Waiver Of Any Stay Imposed By FRBP 6004(H) (the “Notice”) which includes the

 6 Trustee’s proposed Final Order for Emergency Priming and Superpriority Financing and

 7 Consensual Use of Cash Collateral by the Chapter 11 Trustee (the “Proposed Order”). Case Dkt.

 8 561. Local Bankruptcy Rule 9021-1(b)(3)(B) allows parties who filed opposition to the relief

 9 requested seven days to file and serve a written objection to the form of a proposed order and a

10 proposed alternative order. Based upon the exigent circumstances, IT IS HEREBY ORDERED

11 THAT:

12         1. The objection period established by LBR 9021-1(b)(3)(B) is reduced.

13         2. Any objections to the Trustee’s Proposed Order must be filed no later than 1:00 p.m.

14             Pacific Time on Wednesday November 27, 2019.

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23   Date: November 27, 2019
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                                                           2
                                   ORDER REDUCTING LBR 9021-1(B)(3) OBJECTION PERIOD
